      Case 6:22-cv-00043-NKM-RSB Document 26 Filed 09/30/22 Page 1 of 1 Pageid#: 121
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                               Western District
                                             __________ DistrictofofVirginia
                                                                     __________


POWER HOME SOLAR, LLC D/B/A PINK ENERGY                        )
                             Plaintiff                         )
                                v.                             )      Case No.     6:22-CV-00043
          GENERAC POWER SYSTEMS, INC.                          )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Generac Power Systems, Inc.                                                                                  .


Date:          09/30/2022                                                                 s/Michael J. Gill
                                                                                          Attorney’s signature


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